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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

WENDY DAVIS, et al.,                       §
                                           §
               Plaintiffs,                 §         Civil Action
      v.                                   §
                                           §         No. 1:21-CV-565-RP
ELIAZAR CISNEROS, et al.,                  §
                                           §
               Defendants.                 §


                    OBJECTION TO JUROR QUESTIONNAIRE

      The proposed Introduction to the Juror Questionnaire begins by stating: “The

plaintiffs are suing the defendants for allegedly impeding the progress of a Biden-

Harris Presidential Campaign tour bus on Interstate Highway 35 in October 2020 by

surrounding the bus with their cars and trucks in a so-called ‘Trump Train.’” ECF

No. 494 at 2. This sentence does not properly frame the Plaintiffs’ legal claims nor

what Plaintiffs are required to prove at trial under the legal claims they have

brought. Considering the Introduction to the Juror Questionnaire will be the first

document that potential jurors will see, simplifying Plaintiffs’ claims in this manner,

which is inaccurate and misleading, and minimizes what Plaintiffs are required to

establish as the elements to each of the legal claims they have brought before the

Court would unfairly prejudice Defendant Park.

      To cure the issue, counsel for Dolores Park asks the Court to change the first

paragraph to only include the first sentence: “You are being considered for a jury for

a case titled Wendy Davis, David Gins, and Timothy Holloway v. Eliazar Cisneros,
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Randi Ceh, Steve Ceh, Joeylynn Mesaros, Robert Mesaros, and Dolores Park.” Id.

Then, the two following sentences should be deleted: “The plaintiffs are suing the

defendants for allegedly impeding the progress of a Biden-Harris Presidential

Campaign tour bus on Interstate Highway 35 in October 2020 by surrounding the

bus with their cars and trucks in a so-called “Trump Train.” Defendants deny the

allegations.” Id. (original altered by striking through to show proposed deletion).

This would cure the showing of bias in the Introduction to the Juror Questionnaire.

A proposed Introduction, which addresses Dolores Park’s objection, is attached as

Exhibit 1, for the Court’s consideration.

      Not deleting the objectionable content in the Introduction to the Juror

Questionnaire would prejudice Dolores Park as it proffers a theory of Plaintiffs’ case

that obscures and misstates the required elements of Plaintiffs’ legal claims and does

so in a manner that is highly and unfairly prejudicial and inappropriate.

      Further, Dolores Park objects to the Juror Questionnaires being emailed or

sent to jurors prior to the date of trial, instead of disseminated to the jury in Court at

jury selection. The handling of a juror questionnaires should involve considerable

discretion on the part of the District Court.       Emailing out questionnaires with

information regarding the parties and the trial, prior to the jurors receiving more

comprehensive instructions than those briefly included in the Introduction without

further explanation or emphasize, not to research the parties or the case on the

internet, or to research news articles about the case, can easily taint the jury pool and

affect the bias that jurors may have before arriving for jury duty on the day of jury
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selection. Waiting to disseminate the short Juror Questionnaire during the morning

of Jury Selection would alleviate this issue and because the proposed Juror

Questionnaire is now quite brief, it would not take much time for jurors to complete

the questionnaires.

      Defendant Park has made a record of her other objections in her other pre-trial

filings and in her motion for reconsideration, ECF No. 493, and does not forfeit any

of those objections or arguments by filing this objection as well.

Respectfully submitted,                               Dated: August 29, 2024

THOMAS MORE LAW CENTER

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/s/ Erin Elizabeth Mersino
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                           CERTIFICATE OF SERVICE

      I hereby certify that on August 29, 2024, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system that will send notification of

such filing to all registered ECF participants listed for this case. I sent via email per

agreement of the parties a copy of the foregoing to Defendants Steve Ceh and Randi

Ceh at the following addresses provided by the parties:

          Steve Ceh
          Email: steveceh33@gmail.com

          Randi Ceh
          Email: randiceh716@gmail.com

                                                /s/ Erin Elizabeth Mersino
                                                Erin Elizabeth Mersino
